Case 6:16-cv-00982-CEM-GJK Document 405 Filed 10/15/21 Page 1 of 3 PageID 7520




                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                         ORLANDO DIVISION


 FEDERAL TRADE
 COMMISSION and OFFICE OF
 THE ATTORNEY GENERAL,
 STATE OF FLORIDA,
 DEPARTMENT OF LEGAL
 AFFAIRS,

                  Plaintiffs,

 v.                                             Case No. 6:16-cv-982-CEM-GJK

 LIFE MANAGEMENT SERVICES
 OF ORANGE COUNTY, LLC,
 LOYAL FINANCIAL & CREDIT
 SERVICES, LLC, IVD
 RECOVERY, LLC, KWP
 SERVICES, LLC, KWP
 SERVICES OF FLORIDA LLC,
 LPSOFFLA LLC,
 LPSOFFLORIDA L.L.C., PW&F
 CONSULTANTS OF FLORIDA
 LLC, UAD SECURE SERVICES
 LLC, UAD SECURE SERVICE OF
 FL LLC, URB MANAGEMENT,
 LLC, YCC SOLUTIONS LLC,
 YFP SOLUTIONS LLC, KEVIN
 W. GUICE, CHASE P.
 JACKOWSKI, LINDA N.
 MCNEALY, CLARENCE H.
 WAHL, KAREN M. WAHL,
 ROBERT GUICE, and TIMOTHY
 WOODS,

                  Defendants.
                                   /


                                  Page 1 of 3
Case 6:16-cv-00982-CEM-GJK Document 405 Filed 10/15/21 Page 2 of 3 PageID 7521




                                       ORDER

       THIS CAUSE is before the Court on Receiver’s Unopposed Verified Sixth

 Application for Payment for Services Rendered and Reimbursement for Costs

 Incurred (“Sixth Application,” Doc. 399) and Receiver’s Unopposed Second

 Application for Payment for Services Rendered and Reimbursement for Costs

 incurred (“Second Application,” Doc. 400). The United States Magistrate Judge

 issued a Report and Recommendation on each motion, (Doc. Nos. 401, 402),

 recommending that the Sixth Application be granted and the Second Application be

 granted in part and denied in part.

       After review in accordance with 28 U.S.C. § 636(b)(1) and Federal Rule of

 Civil Procedure 72, and noting that no objections were timely filed, the Magistrate

 Judge’s recommended disposition is accepted. Accordingly, it is ORDERED and

 ADJUDGED as follows:

           1. The Report and Recommendations (Doc. Nos. 401, 402) are

              ADOPTED and made a part of this Order.

           2. The Receiver's Unopposed Verified Sixth Application for Payment for

              Services Rendered and Reimbursement for Costs Incurred (Doc. 399)

              is GRANTED.

                  a. The Receiver is awarded $93,860.00 in attorney’s fees and

                     $929.44 in expenses.



                                       Page 2 of 3
Case 6:16-cv-00982-CEM-GJK Document 405 Filed 10/15/21 Page 3 of 3 PageID 7522




                 b. The Receiver may immediately collect $75,088.00 in attorney’s

                    fees plus the $929.44 in expenses from the proceeds of the

                    receivership estate and hold back $18,772.00, to be addressed

                    by the Court at the conclusion of the case.

           3. The Receiver’s Unopposed Second Application for Payment for

              Services Rendered and Reimbursement for Costs incurred (Doc. 400)

              is GRANTED in part and DENIED in part.

                 a. The law firm of Akerman LLP is awarded $33,742 in fees and

                    $1,078.95 in expenses.

                 b. The Second Application is otherwise DENIED.

       DONE and ORDERED in Orlando, Florida on October 15, 2021.




 Copies furnished to:

 Counsel of Record
 Unrepresented Parties




                                     Page 3 of 3
